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                                                               Friday, 29 February, 2008 03:21:59 PM
                                                                        Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )                  Case No. 02-10059
                                               )
ANTHONY CURTIS,                                )
                                               )
               Defendant.                      )


                                           ORDER

       The matter presently before the Court is a #189 Motion to Reduce Sentence re Crack

Cocaine Offense - 18:3582 as to Anthony Curtis. The Motion is GRANTED, and IT IS HEREBY

ORDERED that the sentence of imprisonment is hereby REDUCED to 41 months or time served

as of 3/3/2008. This Order is subject to the prohibition contained within USSG §1B1.10(b)(2)(C).



Entered this 29th Day of February, 2008.

                                               s/ Michael M. Mihm
                                               MICHAEL M. MIHM
                                               U.S. DISTRICT JUDGE
